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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
IN RE:
                                                                      Chapter 13
CHARLES BENFER                              xxx-xx- 3792
NANCY BENFER                                xxx-xx- 4707              Case No. 13-36119

                                    Debtor(s)
-----------------------------------------------------------x

              CHAPTER 13 TRUSTEE’S REPORT OF COMPLETION
                           OF PLAN PAYMENTS


  KRISTA M. PREUSS, Chapter 13 Trustee, reports to the Court that the above-named
Debtor(s) has made all payments to the Chapter 13 Trustee as required by the Confirmed
Chapter 13 Plan.


Dated: White Plains, New York
         July 27, 2018




                                                                /s/ Krista M. Preuss
                                                                Krista M. Preuss
                                                                Chapter 13 Trustee
                                                                399 Knollwood Road, Suite 102
                                                                White Plains, New York 10603
                                                                914-328-6333
